            Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 1 of 11



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT
                                        N-18-1


UNITED STATES OF AMERICA                              Case No.

       v.                                             VIOLATION:
                                                      18 U.S.C. § 1623
LAQUASIA SAMMS, a.k.a. "Quasia"                       (False Declarations Before Grand Jury)


                                         INDICTMENT

       The Grand Jury charges:
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                                       INTRODUCTION                                            J    Ii Q
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       1.       At all times relevant to this indictment Federal Grand Jtiry_ °N- l,~ 1 was
                                                                                   -·l   CJ

investigating the activities of Target One and Target Two, both of whom are known to the Grand

Jury, in connection with the kidnapping and murders of Victim One and Victim Two, and the

related murder of Victim Three, on November 16, 2015.

       2.       The kidnapping began at a location in New Haven, Connecticut, known to the

Grand Jury, and referred to here as "the Location."

       3.       Victim One and Victim Two were kidnapped and killed in New Haven County on

or about November 16, 2015. Victim Three was killed in New Haven County later that same date.

       4.       Individual One and Individual Two participated in a theft of firearms from the

Location on November 16, 2015.

       5.       Individual Three exchanged text messages with the defendant, LAQUASIA

SAMMS, a.k.a. "Quasia," about the time of the kidnapping and murders.

       6.       The identities of Victim One, Victim Two, Victim Three, Individual One,
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            Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 2 of 11



Individual Two, and Individual Three are known to the Grand Jury.

                                              COUNT ONE

       7.       On or about March 19, 2019, in the District of Connecticut, Grand Jury N-18-1, a

Grand Jury of the United States in the District of Connecticut, (the "Grand Jury") was conducting

an investigation of the kidnapping resulting in death of Victim One and Victim Two, as well as the

murder of Victim Three, all of which occurred in New Haven County on or about November 16,

2015, in violation of Title 18, United States Code, Sections 1201(a)(l), 924(c)(l)(A) and 924(i)(l).

       8.        It was material to that investigation that the Grand Jury learn the facts and

circumstances surrounding what occurred at the Location on or about November 16, 2015, where

SAMMS then resided and was present, including information concerning a theft of firearms, and

the events leading up to and resulting in the kidnapping and murders of Victim One and Victim

Two, and the murder of Victim Three.

       9.       On March 19, 2019, the defendant LAQUASIA SAMMS, a.k.a. "Quasia,"

appeared as a witness under oath with the protection of an immunity order, and did knowingly

make false material declarations in a proceeding before the Grand Jury, regarding her knowledge

of what occurred at the Location on or about November 16, 2015, and her knowledge of text

messages that SAMMS sent to and received from other individuals concerning the kidnapping and

death of the victims, in response to questions with respect to the material matters alleged in

Paragraph 8 as follows, with the false declarations in bold and underscore:

       10.      SAMMS testified as follows at page 36, lines 14-23 and page 37, lines 2-5, of the

transcript of her Grand Jury testimony:




                                                 2
  Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 3 of 11



      Q Ms. Samms, do you remember having conversation via text with anyone
        about what was happening at your house when you were sitting in that
        family room?

      A   No.

      Q Could you have had a conversation with someone about what was going
        on at your house?

      A   I didn't know what 'Va going on at my house.

      Q    Okay

              By [Assistant United States Attorney]

      Q   But that's your phone number, right?

      A   Yes.

      Q   You had your phone, right?

      A   Yes.



      ***
11.   SAMMS testified at page 37, line 12 to 25, and page 38, lines 2 to 5, as follows:

      Q Do you recall sending a text saying, He didn't say nothing to me. He
        said something about the situation and I spazzed on everyone?

      A No.

      Q No? You don't remember sending a text -

      A No.

      Q - about what was going on at your house? No?

      A No.

      Q Could you have sent a text about what was going on at your house?

      A I didn't know what was going on so I didn't say nothing that was
          going on at the house.

                                       3
           Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 4 of 11




                Q Okay.

                        By [Assistant United States Attorney]

                Q So your testimony is you did not send that text?

                A No. I don't remember sending anv-1 don't even know what she's
                  talking about.

                ***

        12.     SAMMS testified at page 41, line 7 to 15, as follows:

                Q Okay. And the fact that they wanted the money back, you even knew how
                  much it was. You sent a text saying it was $800. Do you remember that?

                A I didn't know about no money.

                Q Okay. Do you remember having a conversation with [Individual One] about
                  getting the money back and you responding that it's $800?

                A No.

                ***
        13.     SAMMS testified at page 41, line 25, page 42, lines 1 to 25, and page 43, lines 1

to 3, as follows:

                Q   Okay. And you recognize this number, that being your number; is that
                    correct?

                A   Yes.

                Q   And you also recognize the fact that these conversations that you're
                    seeing- take a moment if you need it- are occurring with [Individual
                    Three's nickname] who you said is [Individual Three] is that right?

                A   Right.

                Q    Okay. And you also recognize the part where you say, Tell me why
                    they took the money. Right?


                                                 4
  Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 5 of 11



      A    I see it.

      Q    Okay. And you recognize your text saying that it was $800?

      A    I don't remember that though.

      Q    I'm not asking if you remember. I'm saying you recognize your phone
           number with a text saying like $800?

      A    Right.

      Q     So you may not remember right now but back at the time you knew that
           they were after [Victim 1] right? They were after [Victim 1] to pay for
           money for the guns that were taken?

      A    No.

      Q    That's not what you sent the $800 for, that text?

      A    No.

      Q    Why did you send that?

      A     I don't remember that.

      ***
14.   SAMMS testified at page 43, lines 14 to 20, as follows :

      Q Okay. And do you remember having a conversation with [Individual 3]
        via the text that [Target 1] was going to keep people in the house until he
        got his money?

      A No.

      Q You don't remember that?

      A No.

      ***
15.   SAMMS testified at page 46, lines 20 to 22, as follows:

          Q Do you recall texting [Individual 3], [Individual 3], that you felt really
           guilty about this whole thing?

                                         5
            Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 6 of 11




                  A No.

                ***
        16.     SAMMS testified at page 48, lines 11 to 25, and page 49, lines 1 to 6, as

follows :


                Q And you recall texting sometime after this - again, this is after you
                  would have found out that those boys were killed - quote, I'm really
                  angry that this whole shit happened?

               A No.

                Q You don't recall that?

               A No.

               Q This is your number right here, 203-###-####; is that right?

               A Yes.

               Q And you see this date, 11-18-2015?

               A Yes.

               Q And you see where the text says, I'm really angry that the whole shit
                   happened?

               A Yes. But I don't know who did it.

               Q All right. Well, this is the part of the time, Ms. Samms, where I want to
                   remind you that you're under oath and you could be subject to
                   prosecution.

               A I understand that but I don't remember that.

               ***
        17.    SAMMS testified at page 49, lines 21 to 24, as follows :

               Q What were you so upset about? Why did you feel so guilty?


                                                 6
          Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 7 of 11



                A I don't know.

                ***
        18.     SAMMS testified at page 50, lines 15 to 25, page 51, lines 1 to 25, and page 52,

lines 1 to 2, as follows:

                Q That's your phone, correct?

                A Yes.

                Q That's your friend, correct?

                A Right.

                Q And you're not saying - you're just saying I don't remember. You
                  want the Grand Jury to believe that you don't remember sending-

                A I don't remember none of those conversations.

                Q That's your testimony?

                A Yes.

                Q Remember we talked about how saying I don't remember if you do
                  remember-

                A I really don't though.

                Q Remember how I told you that in saying I don't remember if you do
                  remember doesn't protect from you -

                A I understand that.

                Q - perjury? But nonetheless, you're testifying before the Grand Jury
                  that this series of texts - how often has it happened in your apartment
                  that people in your apartment, somebody is dead the next day or that
                  day? Is that something that happens often?

                A No.

                Q This is an unusual event, correct?

                A Right.

                                                 7
  Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 8 of 11




      Q And - I want to make sure - your testimony is you don't remember
        sending any of those texts?

      A I really don't.

      Q And you don't remember receiving any of those texts?

      A Receiving?

      Q Getting the texts from [Individual 3]. You don't remember those
        texts?

      A I don't.

      ***
21.   SAMMS testified at page 53 lines 9 to 25, and page 54, lines 1 to 20, as follows:

      Q So going back to what [Assistant United States Attorney] has said, three
        people that were at your house that night involved in a gun transaction ended
        up dead hours after, right?

      A Yes.

      Q And this is something that's out of the ordinary I would imagine, right?

      A Right.

      Q And we already talked about the fact that you were very upset that night; is
        that correct?

      A Yes.

      Q You were upset that there were guns in your house where your child lives?

      A Right.

      Q But your testimony here before this Grand Jury is that you don't remember
        anything that happened in regards to these text message?

      A No.

      Q You don't remember making statements about being guilty, feeling guilty
        about this incident?
                                       8
           Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 9 of 11




              A No, because I don't know what there was to feel guilty for.

               Q And you don't remember having a conversation with [Individual 3] where
                 you're upset with your mom?

              A No.

              Q And you don't remember having text messages with [Individual One] talking
                about getting the guns back?

              A I don't even remember having his number.

              Q And you don't remember having conversations via text message with
                [Individual Three] about how much money that [Target One] got from [Victim
                One]?

              A No.

              Q You don't remember any of that?

              A No.

              ***
       19.    SAMMS testified at page 5 8, line 24 to 25, and page 59, lines 1 to 23, as

follows:

              Q Do you recall this text on 11-17-2015, really can't stop thinking, I feel
                so bad and guilty?

              A No.

              Q You don't recall sending that?

              A No.

              Q And you don't recall as you sit here today why you would feel guilty
                about those three individuals losing their lives?

              A Right. Because I don't have nothing to do with that so why would I
                feel guilty?


                                               9
Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 10 of 11



    Q Bt1_t that wasn't the que1,1ion. You don't recall as you sit here _today
      why you would feel guilty, right?

    A Right.

    Q Is it safe to say ifl take you through all these texts you're not going to
      remember any of these texts that you had with [Individual 3]?

    A I don't remember having those conversations about whatever
      happened. Like, what is there to feel guilty about?

    Q Do you recall after you sent her that, I really can't stop thinking, I feel
      so bad and so guilty, her response to you was, You and me both?

    A No.

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                                      10
      Case 3:19-cr-00134-KAD Document 1 Filed 05/21/19 Page 11 of 11



     All in violation of Title 18, United States Code, Section 1623.




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                                                          /s/




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